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 1   Marc A. Lieberman, Esq. (Bar No. 157318)
     Alan W. Forsley, Esq. (Bar No. 180958)
 2   FLP LAW GROUP LLP
 3   (formerly Fredman Lieberman Pearl LLP)
     1875 Century Park East, Suite 2230
 4   Los Angeles, California 90067-2523
 5   Telephone: (310) 284-7350
     Facsimile: (310) 432-5999
 6   alan.forsley@flpllp.com
 7
     Attorneys for Richard A. Marshack, Chapter 7
 8   Trustee of AB Capital, LLC
 9

10                 UNITED STATES BANKRUPTCY COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                   SAN FERNANDO VALLEY DIVISION
12
     In re                                  ) Case No. 1:21-bk-11709-VK
13                                          )
     7590 La Jolla, LLC,                    ) Chapter 7
14
                                            )
15                                         ) FIFTH STIPULATION TO
                                           ) CONTINUE HEARING ON
16
                                   Debtor. ) TRUSTEE'S OBJECTION TO
17                                         ) PROOF OF CLAIM NO. 5 FILED
                                           ) BY AB CAPITAL, LLC
18                                          )
19                                          ) Current Hearing Date:
                                            ) Date: August 17, 2023
20                                          )
21                                          ) Proposed Continued Hearing Date
                                            ) Date: TBD
22                                          ) Time: TBD
23                                          ) Place: Courtroom 301

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     r-------------------------)
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       Fifth Stipulation To Continue Hearing On Trustee's Objection To Proof Of
                         Claim No. 5 Filed By AB Capital, LLC
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 1          TO THE HONORABLE VICTORIA KAUFMAN AND ALL PARTIES IN
 2   INTEREST:
 3          Richard A. Marshack ("AB Capital Trustee"), interim trustee of the estate of In re
 4   AB Capital LLC ("Claimant") and Diane C. Weil ("La Jolla Trustee"), trustee of the
 5   estate ofln re 7590 La Jolla LLC hereby submit this Fifth Stipulation to continue the
 6   hearing on the La Jolla Trustee's Objection to Claim No.5 (the "Objection") [Doc 94]
 7   from August 17, 2023 to the first date convenient to the Court on or after November 15,
 8   2023, (the "Stipulation"). This Stipulation is based on the following facts:
 9

10                                          RECITALS
11          1.     Debtor 7590 La Jolla, LLC ("Debtor") commenced the instant case by filing
12   a voluntary Chapter 7 petition on October 18, 2021 [Doc 1].
13          2.     Debtor's principal asset is a parcel of real property located at 7570-7590 La
14   Jolla Blvd., San Diego CA (the "Property"). [Doc 1].
15          3.     On December 1, 2021, Claimant filed a Motion for Relief from Stay, seeking
16   an order permitting it to exercise its rights against the Property under state law (the
17   "MRS"). [Doc 8]. The MRS was withdrawn without prejudice [Doc 117].
18          4.     On August 22, 2022, the Court entered an order authorizing the sale of the
19   Property (the "Sale") by the La Jolla Trustee. [Doc 79]. The Sale did not close.
20          5.     On September 6, 2022, Claimant filed Claim No. 5, asserting a claim in the
21   amount of $6,362,064.56 secured by the Property ("Claim No 5").
22          6.     On September 16, 2022, an involuntary Chapter 7 petition was filed against
23   Claimant commencing In re AB Capital, LLC, Chapter 7, Case No. 8:22-bk-11585-TA (the
24   "AB Capital Case") [Doc 2 in the AB Capital Case].
25
26          7.     On September 22, 2022, Richard Marshack was appointed interim trustee
27   with limited powers in the AB Capital Case. [Doc 36 in the AB Capital Case].
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        Fifth Stipulation To Continue Hearing On Trustee's Objection To Proof Of
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 1          8.     On September 27, 2022, the La Jolla Trustee filed an Objection to Claim No.
 2   5, with the hearing on same set for October 27, 2022.
 3          9.     On October 6, 2022, an Order for Relief was entered in the AB Capital Case.
 4   [Docs 57 and 58 in the AB Capital Case].
 5          10.    In the Order for Relief, the AB Capital Trustee's powers were expanded to
 6   include "all the powers of a Chapter 7 Trustee including those set forth in 11 U.S.C.
 7   §303(g) 'to take possession of the property of the estate and operate any business of the
 8   debtor.'" [Doc 60 in the AB Capital Case].
 9          11.    No party has sought relief from stay in the AB Capital Case regarding the
10   hearing on the Objection, which is presently set for August 17, 2023. [Doc 126].
11          12.    On June 16, 2023, this Court entered an Order Granting Motion for Relief
12   from the Automatic Stay Under 11 U.S.C. § 362 to permit the AB Capital Trustee to
13   exercise Claimant's rights under state law as a secured creditor to foreclose on the Property
14   [Doc 143]. If the AB Capital Trustee non-judicially forecloses on the Property, he will
15   have waived any deficiency claim against this estate, rendering the La Jolla Trustee's
16   Objection moot.
17          13.    The AB Capital Trustee represents that on May 11, 2021, he caused to be
18   recorded a Notice of Default and Election to Sell Under Deed of Trust as Document No.
19   2021-0362927 in the Official Records of San Diego County, and that the Property can go
20   to sale 20 days after recordation of a new Notice of Sale.
21          14.    The La Jolla Trustee continues to actively market the Property for sale.
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23                      [The remainder of this page is intentionally blank.]
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        Fifth Stipulation To Continue Hearing On Trustee's Objection To Proof Of
                          Claim No. 5 Filed By AB Capital, LLC
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                                       AGREEMENT
 2
 3          15.   The parties respectfully request that the hearing on the Objection be
 4   continued to the first date convenient to Court on or after November 15, 2023
 5   (approximately 90 days) pending the disposition of the Property.
 6
     DATED: July;f;., 2023
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II

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13
     DATED: July 31 , 2023                      BGLAWLLP

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                                            By: .__ L-L
15
                                                David Seror, Esq.
16                                              Jessica S. Wellington, Esq.
                                                Attorneys for Diane C. Wei I
17                                              Chapter 7 Trustee of the La Jolla Chapter 7
18
                                                estate

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       Fifth Stipulation To Continue Hearing On Trustee's Objection To Proof Of
                         Claim No. 5 Filed By AB Capital, LLC
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
FLP Law Group LLP 1875 Century Park East, Suite 2230, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): FIFTH STIPULATION TO CONTINUE HEARING ON
TRUSTEE'S OBJECTION TO PROOF OF CLAIM NO. 5 FILED BY AB CAPITAL, LLC will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d) ; and (b) in the manner stated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pu rsuant to controlling General
Orders and LBR, the foregoing document wil l be served by the court via NEF and hyperlink to the document. On (date )
July 31, 2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Alan W Forsley alan.forsley@ flpllp.com, awf@tkl lawfirm.com,awf@ fl-lawyers.net,addy@flpllp.com
    •   Marc A Lieberman marc.liebennan@ flpllp.com, safa.sa leem@flpllp.com ,addy@flpllp.com
    •   Peter M Lively PeterMLively2000@yahoo.com
    •   Richard A Marshack rmarshack@ marshackhays.com ,
        lbuchananmh@ecf.courtdrive.com;rmarshack@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
    •   William L M iltner autumn@ mi ltnerlaw.com
    •   David Seror dseror@ bg.law, ecf@bg. law
    •   United States Trustee (SV) ustpregion 16.wh.ecf@ usdoj .gov
    •   Diane C Weil (TR) dcweil@dcweillaw.com,
        DCWTrustee@dcwei llaw.com,jfiser@dcweillaw.com;ecf.alert+Weil@titlexi.com
    •   Jessica Wellington jwellington@ bg. law, ecf@ bg. law
    •   David Wood dwood@ marshackhays.com,
        dwood@ecf.courtdrive.com;lbuchananmh@ecf.courtdrive.com;kfrederick@ecf.co urtdrive.com

                                                                        0Service information continued on attached page
II. SERVED BY UNITED STATES MAIL:
On (date), I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.
                                                                        D Service information continued on attached page
Ill. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 31 , 2023 I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Chambers of The Honorable
Victoria S. Kaufman
United States Ban kruptcy Court
21041 Burbank Blvd ., Suite 354
Woodland Hills, CA 91367
                                                                                       D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 31, 2023                 SAFA SALEEM
 Date                           Printed Name                                                   f$iiri8fti(e
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
